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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-0985V
                                          UNPUBLISHED


    AMY GOODE,                                                  Chief Special Master Corcoran

                         Petitioner,                            Filed: January 20, 2023
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Joint
    HUMAN SERVICES,                                             Stipulation After Entitlement
                                                                Determined for Petitioner; Tetanus
                         Respondent.                            Diphtheria acellular Pertussis (Tdap)
                                                                Vaccine; Brachial Neuritis


Daniel A. Singer, Shamberg, Johnson & Bergman, Chtd., Kansas City, MO, for
       Petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On August 7, 2020, Amy Goode filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered brachial neuritis, a defined
Vaccine Table Injury, which, in the alternative, was caused-in-fact by the tetanus,
diphtheria, and acellular pertussis vaccine (“Tdap”) vaccine she received on September
2, 2019. Petition at 1, ¶¶ 2, 10-11. The case was assigned to the Special Processing Unit
of the Office of Special Masters.


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On June 11, 2021, I issued a ruling on entitlement, finding Petitioner entitled to
compensation for his GBS. On January 19, 2023, the parties filed the attached joint
stipulation,3 requesting that I issue a decision awarding compensation in the amount of
$127,500.00, representing compensation for her pain and suffering, lost wages, future
medical expenses, and unreimbursable expenses. Stipulation at ¶ 8. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

       Pursuant to the terms stated in the attached Stipulation, I award Petitioner a lump
sum payment of $127,500.00, representing compensation for her pain and
suffering, lost wages, future medical expenses, and unreimbursable expenses in
the form of a check payable to Petitioner. This amount represents compensation for
all damages that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.4

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3Usually, a proffer is filed by Respondent if the parties have reached an informal agreement regarding the
appropriate amount of compensation to be awarded after an entitlement determination. However, in a
minority of cases, the parties may choose to file a joint stipulation instead, representing more of a
compromise regarding the compensation to be awarded.

4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                             )
AMY GOODE,                                   )
                                             )
               Petitioner,                   )
                                             )        No. 20-985V
       V.                                     )       Chief Special Master Corcoran
                                              )       ECF
SECRETARY OF HEALTH AND                      )
HUMAN SERVICES,                              )
                                             )
               Respondent.                   )


                                        STIPULATION

       The parties hereby stipulate to the following matters:

       1. Amy Goode, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §§ 300aa-10 to -34 (the "Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner's receipt of a Tetanus-

diphtheria-acellular pertussis ("Tdap") vaccine, which is a vaccine contained in the Vaccine

Injury Table (the "Table"), 42 C.F.R. § 100.3 (a).

       2. Petitioner received the Tdap vaccine on September 2, 2019.

       3. The vaccination was administered within the United States.

       4. Petitioner suffered from brachia! neuritis within the time period set forth in the Table

following receipt of the Tdap, and experienced the residual effects of her injury for more than six

months.

       5. There is not a preponderance ofevidence demonstrating that petitioner's injury is due

to a factor unrelated to vaccination.

       6. Petitioner represents that there has been no prior award or settlement of a civil action
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for damages on her behalf as a result of her condition.

       7. Accordingly, petitioner is entitled to compensation under the terms of the Vaccine Act

for her brach ial neuritis Table injury. Therefore, a decision should be entered awarding the

compensation described in paragraph 8 ofthis Stipulation.

       8. As soon as practicable after an entry ofjudgment reflecting a decision consistent with

the terms of this Stipulation, and after petitioner has filed an election to receive compensation

pursuant to 42 U.S.C. § 300aa-21 (a)( 1), the Secretary of Health and Human Services will issue

the following vaccine compensation payment:

           a. A lump sum of $127,500.00 (consisting of pain and suffering, lost wages,
              future medical expenses, and unreimbursable expenses) in the form of a
              check payable to petitioner.

       This amount represents compensation for all damages that would be available

under42 U.S.C. § 300aa-15(a).

       9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-21 (a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in proceeding

upon this petition.

       10. Petitioner and her attorney represent that compensation to be provided pursuant to

this Stipulation is not for any items or services for which the Program is not primarily liable

under42 U.S.C. § 300aa-15(g), to the extent that payment has been made or can reasonably be

expected to be made under any State compensation programs, insurance policies, Federal or

State health benefits programs (other than Title XIX of the Social Security Act (42 U.S.C.

§ 1396 et seq.)), or by entities that provide health services on a pre-paid basis.
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       11. Payment made pursuant to paragraph 8 ofthis Stipulation and any amounts awarded

pursuant to paragraph 9 ofthis Stipulation will be made in accordance with 42 U.S.C. § 300aa-

15(i), subject to the availability of sufficient statutory funds.

       12. The parties and their attorneys further agree and stipulate that, except for any award

for attorneys' fees and litigation costs, and past unreimbursedexpenses, the money provided

pursuant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

strict construction of42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

§ 300aa- t 5(g) and (h).

       13. In return for the payments described in paragraphs 8 and 9, petitioner, in her

individual capacity, and on behalf of her heirs, executors, administrators, successors or assigns,

does forever irrevocably and unconditionally release, acquit and discharge the United States and

the Secretary of Health and Human Services from any and all actions or causes of action

(including agreements, judgments, claims, damages, loss of services, expenses and all demands

of whatever kind or nature) that have been brought, could have been brought, or could be timely

brought in the United States Court of Federal Claims, under the National Vaccine Injury

Compensation Program, 42 U.S.C. § 300aa-10 et seq.,on account of, or in any way growing out

of, any and all known or unknown, suspected or unsuspected personal injuries to or death of

petitioner resulting from, or alleged to have resulted from, the Tdap vaccination administered on

September 2, 2019, as alleged by petitioner in a petition for vaccine compensation filed on or

about August 7, 2020, in the United States Court of Federal Claims as petition No. 20-985V.

        14. If petitioner should die prior to entry ofjudgment, this agreement shall be voidable

upon proper notice to the Court on behalfofeither or both of the parties.


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       15. If the special master fails to issue a decision in complete conformity with the terms

of this Stipulation or if the Court of Federal Claims fails to enter judgment in conformity with a

decision that is in complete conformity with the terms of this Stipulation, then the parties'

settlement and this Stipulation shall be voidable at the sole discretion ofeither party.

       16. This Stipulation expresses a full and complete negotiated settlement of liability and

damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part ofthe

parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to amount of

damages, and further, that a change in the nature of the injury or condition or in the items of

compensation sought, is not grounds to modify or revise this agreement.

       17. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION




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Respectfully submitted.

PETITIONER:



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ATTORNEY OF RECORD FOR                                        AUTHORIZED REPRESENTATIVE
PETITIONER:                                                   OF THE ATTORNEY GE~ERAL:


                                                              ~ ~J\..                e-i, J
DANIEL A. SINGER                                              HEATHER L. PEARLMAN
Shamberg. Johnson, & Bergman. Chtd.                           Deputy Director
2600 Grand Boulevard, Suite 550                               Tort~ Branch. Civil Division
Kansas City. MO 641 OR                                        U.S. Department of Justice
T: 816--4 74-0004 F: 816--474-0003                            P.O. Box 146
dsinger~isjblaw.com                                           Benjamin Franklin Station
                                                              Washington. DC 20044-0146


AUTHORIZED REPRESEl'iTA Tl\'E                                 ATTOR:'iEY OF RECORD FOR
OF THF. SECRF.TARV OF HF:ALTH                                 RF.SPO~DENT:
AND HUMAN SERVICES:
George R. Grimes· o ,9,tallys,9nedbyGeo19eR
                       Grimcs -St4
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CDR GEORGE REED GRIMES. M.D., MPH                             RONALDA E. KOSH
Director, Division of lnju1y                                  Trial Attorney
 Compensation Programs                                        To11s Branch
Health Systems Bureau                                         Civil Division
Health Resources and Services                                 U.S. Depai1ment of Justice
 Administration                                               P.O. Box 1-l6
U.S. Department of Hea lth                                    Benjamin 1-ranklin Station
 and Human Servit:cs                                          Washington. DC XXX-XX-XXXX
5600 Fishers Lane. 08N 14613                                  ronalda.kosh~ usdoj.gov
Rockville, MD 20857                                           (202) 616-44 76




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